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UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF MARYLAND OCT 03 2019
BALTIMORE REGION + aasrivory

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UNITED STATES OF SAMERICA, 3

DEPuTy

PLAINTIFF,

V. CASE NO. 1:14-CR-00348-JKB-1

Garry Nicholson,

DEPENDANT

 

 

MOTION FOR NEW TRIAL...
BASED UPON NEWLY DISCOVERED EVIDENCE.

 

COMES NOW, defendant Garry Nicholson filing pro se pursuant to:
Federal Rule of Criminal Procedure 33 hereby requesting a new trial
ang /or evidentiary hearing based upon newly discovered evidence
pertaining to the investigation and indictment of Detective KEITH
ALLEN “GLADSTONE of the Baltimore Police DEPARTMENT. Newly found
evidence will indicate that Det.Keith A Gladstone while in the
performance of dutiés as a law enforcement officer assigned to the
special enforcement section (S.E.S} of the Baltimore Police Dept
‘did for an undetermined amount of time, knowingly and wilfully
engage in eriminal misconduct while operating under color of state
law. Based upon the nature and severity of the.offenses committed
by Officer Keith A Gladstone, the defendant firmly holds that the
interests of justice alone warrant further review. Record will

support that the defendant was prejudiced as a result.
FACTS
On about July 22 2014, the defendant was indicted for a ONE COUNT
21 u.s.c § 841 (B})(1} (A) possession with the intent to distribute
cocaine. It should be noted that at the time of the defendants
arraignment, the defendant entered a plea of not guilty on ail
counts, Furthermore, on July 25 2014 notice of attorney appearance
was entered by Joseph A Balter as Public befender for the defendant.
MR.Balter remained the defendants assigned counsel until the
defendant filed a RULE #17 subpoena requesting that MR Balter be
removed as appointed counsel due to the fact that the defendant
best interests were not being adequately met. The RULE#17 subpoena
motion was filed and entered on December 18 2014 ( SEE ATTACHED
EXHIBIT CRIMINAL DOCKET SHEET). During this timeframe multiple pre-
trial motions were filed by the defendant in regards to the evidence
seized through search warrants obtained by Detective Keith A -
Gladstone during an investigation conducted by the Baltimore Police
Department. All motions in regards to all evidentiary issues and
concerns can be verified {SEE ATTACHED CRIMINAL, DOCKET). .The

defendant filed a successive motion requesting speedy trial on

Febuary 24 2015 ( SEE ATTACHED DOCKET SHEET). Record will further

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indicate that on/about Febuary 20 2015 Federal Public Defender

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Joseph A Balter was removed as appointed counsel to the defense.

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FACTS

 

On Febuary 20 2015, Attorney Gerald ¢ Ruter was assigned by the
Federal Public Defenders Office to represent the defendant.

THé deféndant firmly believes newly appointed counsel did not
have sufficient time to adequately prepare for the case.

Record will Supprt the defendants timeline by indicating that
only 7 days had lapsed since: the appointment of new counsel and
the acceptance of the defendants plea. The defendant holds that
Gerald C Ruter failed to represent: the defendant's interests by
not conducting a proper overview of the defendants case. The
defendant was very adamant to assigned counsel Gerald C Ruter

his desire to challenge the evidence obtained through the discovery

the defendant attempted to raise concern regarding the integrity
and credibility of Detective Keith A Gladstone on numerous occasion
with both assigned Public Defenders. The defendant also requested
that the Government's key witnessess be re-interviewed and at one
point suggested retaining an investigator to conduct bipartisan
examination of the Government's case. The defendant claims that
even in comparison to the Strickland standard, defendants counsel
failed to achieve the proper standard of adequate representation
of counsel. The defendant firmly believes that had proper |
investigation been conducted and the numerous objections in regards
to the police involved in the government,s case and the evidence
collected through and buy the Baltimore Police Dept, the defendant

would not have been so pressured to také a plea agreement.
FACTS

On Febuary 27 2015 a plea agreement was reached between the United
States Attorney and the defendant consisting of the following

a. 120 months imprisonment

b. 5 years supervised release

c. 100.00 assessment fee
It should be documented that the defendant felt the plea agreement -
offer was unsatisfactory but believed that corrupt law enforcment
officers had accumulated enough evidence whether tainted or not to
secure conviction of any innocent person. The defendant further
states that by challenging the courts or personel.of the Baltimore
Police Dept it would only make any disposition unfavorable to the
defendant.
Without a doubt, the newly discovered evidence goes directly to the
weight and credibility of any witness especially upon those
individuals responsible for any/all investigations and collection
of any evidence regarding the defendants case. 'Clearly it would
serve the interests of justice if the honorable court would grant

‘

the defendants motion to conduct at bare minimum, a evidentiary
hearing . The defendant further prays that thethonorable court

shall use its discretion to weigh the credibility of all witnessess

and apply its discretion to the evidence.
 

LEGAL ARGUMENT SUMMARY

 

The defendant argues that the findings of the Baltimore
Police Dept's Special Enforcemnt Section(S.E.S) is erroneous and as
a result, any evidence procured is defined as ‘fruit of the
poisonous tree' and can not be used to secure or uphold the
defendants conviction. Through the defendants due diligence and an
incredible amount of hardship on the defendant and his family's
behalf, the defendant still holds that justice will prevail. The
discovery of wide spread corruption throughout the Baltimore Police
Department and especially in regards to the law enforcement officers
of the (B.P.D) assigned to the Special Enforcement Section (S.E.8)
which handled the defendant's unjust and improper conviction
especially the actions and criminal misconduct of the lead detective
assigned to the defendants case who has. been identified throughout
‘this motion as Detective Keith A Gladstone should require the

defendant to a new trial...

 

MOTION FOR NEW TRIAL BASED UPON NEWLY DISCOVERD EVIDENCE

 

In researching the facts supporting this motion, the

defendant has since learned that several law enforcemnt officers

of the Baltimore Police Dept had been indicted and detained: for a

multitude of offenses. Of particular interest was the arrest of
 

‘MOTION FOR NEW TRIAL CONT"D

 

lead Detective Keith A Gladstone also of the (B.P.D):See-

exhibit #1 (Indictment of Keith A Gladstone) « The following isa
preview of some of the offenses's made against Det Gladstone and
other officers of the ({B.P.D)

1) CONSPIRACY TO DEPRIVE CIVIL RIGHTS 18 u.s.c § 241

2) WITNESS TAMPERING 18 u.s.c § 1512

3) CONSPIRACY TO COMMIT OFFENSES AGAINST THE UNITED STATES

18 u.s.c §..371

Clearly a ring of corrupt police officers meets the prejudicial
_ Standard and weighs heavily against the verdict. A Federal Rules of
' Criminal Procedure 33 motion is designed to rectify factual
injustices, thus, a Rule# 33 motion based upon newly discovered
evidence is applied to where the newly discovered evidence relates
to the elements of the crime charged. Rule#.33.deals with the
contentions that evidence discovered after trial shows beyond a
reasonable doubt that_the accused is innocent. A new trial should .
be granted under the provisions of Rule#.33 only if the evidence
would result in an acquittal at trial. Not only can the district
court hold evidentiary hearing on motion to vacate sentence, the
Court ordinarily must do so if the defendant raises meritorious

claims involving factual issue. the defendant refers to the nature
 

MOTION FOR NEW TRIAL CONT'D

 

of offenses made against officers of the Baltimore Police
Dept whom falsified evidence and/or documentation in regards to
the investigation, indictment. and conviction of the defendant.
Police corruption, botched investigations and the falsifing of
any evidence and or documentation to secure the conviction of any”
person clearly would warrant a review of the defendants case.
The defendant also respectfully informs this Honorable court
of intentions to represent himself pro-se in his defense and

requests to be present at all hearings/proceedings.

CONCLUSION

 

Accordingly, for the resons'cited in the above motion, the
defendant respectfully requests an evidentiary hearing be conducted

to consider the newly discovered evidence.

Respectfully submitted,
Bory) Wot

Garry Nicholson #
CERTIFICATE OF SERVICE

 

I hereby certify that on 13 September 2019 the
undersigned mailed the foregoing document to the court clerk

using the Prison Mail Box Rule served via United States mail.

 

Heaney Toor —

Garry Nicholson
